

Matter of Shevlin (2018 NY Slip Op 00886)





Matter of Shevlin


2018 NY Slip Op 00886


Decided on February 8, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 8, 2018


[*1]In the Matter of BRIAN SCOTT SHEVLIN, an Attorney. 
(Attorney Registration No. 4420766)

Calendar Date: February 5, 2018

Before: Garry, P.J., Egan Jr., Mulvey, Aarons and Rumsey, JJ.


Brian Scott Shevlin, Pennington, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Brian Scott Shevlin was admitted to practice by this Court in 2006 and lists a business address in New Brunswick, New Jersey with the Office of Court Administration. Shevlin now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Shevlin's application.
Upon reading Shevlin's affidavit sworn to November 30, 2017 and filed December 4, 2017, and upon reading the January 30, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Shevlin is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that Brian Scott Shevlin's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Brian Scott Shevlin's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Brian Scott Shevlin is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Shevlin is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Brian Scott Shevlin shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








